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IN THE UNITED STATES DISTRICT COURT Uni

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FOR THE SOUTHERN DISTRICT OF TEXAS Southam Ct ot eg
HOUSTON DIVISION PRED
: MAR 1 0 2993
MARLA DUKLER, a minor § Mich
b/n/f MALCOLM DUKLER, § Snael N. Milby, Clerk of Cours
§
Plaintiff, §
§
V. § CIVIL ACTION NO. H-03-0195
§
KLEIN I.S.D.; DR. JIM SURRATT, §
Superintendent of the Klein 1.S.D.,inhis — §
Official Capacity; and PAT HUFF, §
Principal of Klein High School, in his §
Official Capacity, §
§
Defendants. §
ORDER OF DISMISSAL

 

ON THIS DAY, came on to be considered an Agreed Motion to Dismiss with
Prejudice filed by Plaintiff and Defendants. The Court is of the opinion that the motion is

well taken and should be granted. It is, therefore.

ORDERED that this action be and the same is hereby dismissed, with prejudice,

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each party to bear their own costs and fees.
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SIGNED at Houston, Texas, on this (07s day of Maéwca , 2003.

Bae

C united States District Judge

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